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   7

   8                       UNITED STATES DISTRICT COURT
   9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                            LOS ANGELES DIVISION
  11                                               Case No. 11-cv-07134-MMM-JEM
       KENSINGTON GRACE HOLDINGS,
                                                   _________________
  12   LLC,
       ,
  13                                               [PROPOSED] ORDER OF
                            Plaintiff,             DISMISSAL WITH PREJUDICE
  14
               v.
  15

  16   CITIZENS BUSINESS BANK, CATHAY
       BANK, BRIDGE BANK, N.A., SANTA
  17   BARBARA BANK & TRUST, N.A.,
  18   CENTER BANK, COMMUNITY BANK,
       MONTECITO BANK & TRUST, NARA
  19   BANK, TORREY PINES BANK, and
  20   WILSHIRE STATE BANK,
  21                        Defendants.
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                      [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
                                 Case No. 11-cv-07134-MMM-JEM
Case 2:11-cv-07134-MMM-JEM Document 72 Filed 01/05/12 Page 2 of 2 Page ID #:359

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         3              ORDER OF DISMISSAL WITH PREJUDICE
         4   In consideration of the parties’ Stipulated Motion for Dismissal of all claims
         5 prejudice and all counterclaims as moot asserted by between Plaintiff
       with
         6
       Kensington Grace Holdings, LLC (“Plaintiff”) against and Defendant Wilshire
         7 Bank (“Defendant”), the Stipulated Motion for Dismissal is GRANTED, and
       State
           8 ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit
       it is
       by9and between Plaintiff and Defendant are hereby dismissed with prejudice,
        10
       subject to the terms of that certain agreement entitled “SETTLEMENT
        11
       AGREEMENT” dated December 21, 2011.
        12   It is further ORDERED that all attorneys’ fees and costs are to be borne by
         13 party that incurred them.
       the
        14   IT IS SO ORDERED.
        15

        16 January 5, 2012
       Date:                                  ________________________________
        17                                         Hon. Margaret M. Morrow
                                                   United States District Judge
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                        [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE
                                        Case No. 11-cv-07134-MMM-JEM
